






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00141-CV







Gus Hoffman, Appellant 


v.


Charles Kevin Jones and Kelly Gamblin Jones,  Appellees


								




FROM THE DISTRICT COURT OF LEE COUNTY, 21ST JUDICIAL DISTRICT


NO. 11,492, HONORABLE DONALD HUMBLE, JUDGE PRESIDING






	Appellant Gus Hoffman announces that the parties have settled the underlying
disputes.  He moves to dismiss his appeal.  We grant the motion and dismiss this appeal.



					                                                                                    

					Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed on Appellant's Motion

Filed:   November 15, 2001

Do Not Publish


